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SAGINAW COUNTY ' CHARLES L. BROWN
i SHERIFF'S OFFICE ARNOLD J. BURNS
Y Undersheriff
618 CASS STREET RANDY L. JEROME
SAGINAW, MICHIGAN 48602 Captain

PAULA S. LOUNSBURY
Lieutenant -LE .

WILLIAM H. GUTZWILLER
Lieutenant - Jail

(989) 790-5456
FAX Kes 790-5429

Cage. MLE OF -S65F

GRILVANCE FORM

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£ “Working Together To Make Saginaw County A Safer Place To Live”

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Teer ee oye a

” SHERIFF

SAGINAW COUNTY CHARLES L. BROWN
SHERIFE’S OFFICE. ARNOLD J. BURNS
Undersheriff
618 CASS STREET RANDY L. JEROME
SAGINAW, MICHIGAN 48602 Captain
(989) 790-5456 PAULA 8. LOUNSBURY
PAX (9895-790 529 Lieutenant - LE
fae WILLIAM H. GUTZWILLER

Lieutenant - ~ dail

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“Working Together To Make Sasinaw County A Safer Place To Live”
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